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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Telstrat, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  216 West Village Blvd., Suite 102
                                  Laredo, TX 78041
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Webb                                                           Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.lifesize.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                          Case 23-50042 Document 1 Filed in TXSB on 05/16/23 Page 2 of 19
Debtor    Telstrat, LLC                                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               5132

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 23-50042 Document 1 Filed in TXSB on 05/16/23 Page 3 of 19
Debtor    Telstrat, LLC                                                                                   Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Telstrat, LLC                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 16, 2023
                                                  MM / DD / YYYY


                             X   /s/ Marc Bilbao                                                          Marc Bilbao
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Co-Chief Restructuring Officer




18. Signature of attorney    X   /s/ Benjamin L. Wallen                                                    Date May 16, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Benjamin L. Wallen
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 440 Louisiana Street
                                 Suite 900
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     713-691-9385                  Email address      bwallen@pszjlaw.com

                                 24102623 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Debtor     Telstrat, LLC                                                                    Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                   Chapter      11
                                                                                                                         Check if this an
                                                                                                                         amended filing



                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Lifesize, Inc.                                                          Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known
Debtor     Light Blue Optics, Inc.                                                 Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known
Debtor     LO Platform MidCo, Inc.                                                 Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known
Debtor     Serenova WFM, Inc.                                                      Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known
Debtor     Serenova, LLC                                                           Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known
Debtor     SL Midco 1, LLC                                                         Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known
Debtor     SL Midco 2, LLC                                                         Relationship to you               Affiliate
District   Southern District of Texas                 When                         Case number, if known




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      Fill in this information to identify the case:

      Debtor nameTelstrat,     LLC
      United States Bankruptcy Court for the Southern District of Texas
                                                                   (State)
      Case number (If                                                                                                                   Check if this is
      known):                                                                                                                      an
                                                                                                                                        amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30
    Largest Unsecured Claims and Are Not Insiders (on a Consolidated
    Basis)

    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
    which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31).
    Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places
    the creditor among the holders of the 20 largest unsecured claims.


   Name of creditor and complete        Name, telephone number, and email     Nature of the   Indicate if claim   Amount of unsecured claim
   mailing address, including zip       address of creditor contact           claim           is contingent,      If the claim is fully unsecured, fill in only
   code                                                                      (for example,    unliquidated, or    unsecured claim amount. If claim is
                                                                             trade debts,     disputed            partially secured, fill in total claim
                                                                             bank loans,                          amount and deduction for value of
                                                                             professional                         collateral or setoff to calculate
                                                                             services, and                        unsecured claim.
                                                                             government
                                                                             contracts)                           Total       Deduction        Unsecured claim
                                                                                                                  claim, if   for value of
                                                                                                                  partially   collateral or
                                                                                                                  secured     setoff
1. Logitech International,            Shareholders Representative Debt Claim                                                                  $8,374,499.00
   S.A.                               Services LLC
   950 17th Street                    Telephone: 303-648-4085
   Suite 1400                         Email: deals@srsacquiom.com
   Denver, CO 80202




2. Meritech Capital Lifesize          Shareholders Representative Debt Claim                                                                  $5,425,001.00
   LLC                                Services LLC
   950 17th Street                    Telephone: 303-648-4085
   Suite 1400                         Email: deals@srsacquiom.com
   Denver, CO 80202




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   Name of creditor and complete     Name, telephone number, and email    Nature of the   Indicate if claim   Amount of unsecured claim
   mailing address, including zip    address of creditor contact          claim           is contingent,      If the claim is fully unsecured, fill in only
   code                                                                  (for example,    unliquidated, or    unsecured claim amount. If claim is
                                                                         trade debts,     disputed            partially secured, fill in total claim
                                                                         bank loans,                          amount and deduction for value of
                                                                         professional                         collateral or setoff to calculate
                                                                         services, and                        unsecured claim.
                                                                         government
                                                                         contracts)                           Total       Deduction        Unsecured claim
                                                                                                              claim, if   for value of
                                                                                                              partially   collateral or
                                                                                                              secured     setoff
3. Redpoint Omega II, LP.           Shareholders Representative Debt Claim                                                                $5,415,510.00
   950 17th Street                  Services LLC
   Suite 1400                       Telephone: 303-648-4085
   Denver, CO 80202                 Email: deals@srsacquiom.com




4. SH Lifesize, LLC                 Shareholders Representative Debt Claim                                                                $2,093,625.00
   950 17th Street                  Services LLC
   Suite 1400                       Telephone: 303-648-4085
   Denver, CO 80202                 Email: deals@srsacquiom.com




5. Craig Malloy                     Shareholders Representative Debt Claim                                                                $1,994,519.00
   950 17th Street                  Services LLC
   Suite 1400                       Telephone: 303-648-4085
   Denver, CO 80202                 Email: deals@srsacquiom.com




6. Silicon Valley Bank              Sheila Colson                        Trade Debt                                                       $1,405,297.00
   3003 Tasman Dr.                  Telephone: 512-431-5874
   Santa Clara, CA 95054            Email: scolson@svb.com




7. Escalate Capital Partners        Shareholders Representative Debt Claim                                                                $1,020,922.00
   SBIC III, LP                     Services LLC
   950 17th Street                  Telephone: 303-648-4085
   Suite 1400                       Email: deals@srsacquiom.com
   Denver, CO 80202




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   Name of creditor and complete     Name, telephone number, and email    Nature of the   Indicate if claim   Amount of unsecured claim
   mailing address, including zip    address of creditor contact          claim           is contingent,      If the claim is fully unsecured, fill in only
   code                                                                  (for example,    unliquidated, or    unsecured claim amount. If claim is
                                                                         trade debts,     disputed            partially secured, fill in total claim
                                                                         bank loans,                          amount and deduction for value of
                                                                         professional                         collateral or setoff to calculate
                                                                         services, and                        unsecured claim.
                                                                         government
                                                                         contracts)                           Total       Deduction       Unsecured claim
                                                                                                              claim, if   for value of
                                                                                                              partially   collateral or
                                                                                                              secured     setoff
8. Calabrio, Inc.                   Susan Grassel                        Trade Debt                                                       $899,971.00
   241 5th Ave N                    Telephone: 763-795-7830
   Suite 1200                       Email:
   Minneapolis, MN 55401-           susan.grassel@calabrio.com
   7506




9. Tippet Lifesize, LLC             Shareholders Representative Debt Claim                                                                $697,875.00
   950 17th Street                  Services LLC
   Suite 1400                       Telephone: 303-648-4085
   Denver, CO 80202                 Email: deals@srsacquiom.com



10.Oracle America, Inc.             Gale Head                   Trade Debt                                                                $612,873.00
   2955 Campus Drive                Telephone: 800-959-5936
   Suite 100                        Email:
   San Mateo, CA 94403-             Customersvc@leaseadmincente
   2511                             r.com



11.Persistent Systems               Kuljesh Puri                 Trade Debt                                                               $589,008.00
   Limited                          Telephone: +91 (20) 67030000
   402 E Senapati Bapat             Email:
   Road                             kuljesh_puri@persistent.com
   Model Colony
   Pune, INDIA 411 016




12.Blue Jeans Network, Inc. Quazi Hossain                                Trade Debt
   3098 Olsen Drive         Telephone: 408-550-2828                                                                                       $556,980.00
   Floor 2                  Email: ar@bluejeans.com
   San Jose, CA 95128-
   2048




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   Name of creditor and complete     Name, telephone number, and email    Nature of the   Indicate if claim   Amount of unsecured claim
   mailing address, including zip    address of creditor contact          claim           is contingent,      If the claim is fully unsecured, fill in only
   code                                                                  (for example,    unliquidated, or    unsecured claim amount. If claim is
                                                                         trade debts,     disputed            partially secured, fill in total claim
                                                                         bank loans,                          amount and deduction for value of
                                                                         professional                         collateral or setoff to calculate
                                                                         services, and                        unsecured claim.
                                                                         government
                                                                         contracts)                           Total       Deduction       Unsecured claim
                                                                                                              claim, if   for value of
                                                                                                              partially   collateral or
                                                                                                              secured     setoff
13.Benchmark Electronics            WenYuan Lee                          Trade Debt                                                       $416,815.00
   (M) SDN BHD                      Telephone: 604-648-5000
   Free Industrial Zone             Email: PEN-
   Phase 1                          LifeSizeTeam@bench.com
   Bayan Lepas MALAYSIA
   11900


14.DLA Piper LLP (US)               Michael Strapp                Legal Fees                                                              $386,480.00
   P.O. Box 64029                   Telephone: 617-406-6031
   Baltimore, MD 21264-             Email:
   4029                             Michael.strapp@us.dlapiper.co
                                    m

15.TWILIO Inc.             Eric Garcia                                   Trade Debt
   101 Spear Street        Telephone: 805-807-3347                                                                                        $350,362.00
   Suite 100               Email: egarcia@twilio.com
   San Francisco, CA 94105

16.Michael Helmbrecht               Shareholders Representative Debt Claim                                                                $297,735.00
   950 17th Street                  Services LLC
   Suite 1400                       Telephone: 303-648-4085
   Denver, CO 80202                 Email: deals@srsacquiom.com



17.Appsmart Agent Services, Tori Stowick                                 Trade Debt                                                       $286,602.00
   Inc.                     Telephone: 424-600-9384
   650 California St.       Email:
   Floor 25                 tori.stowick@appdirect.com
   San Francisco, CA 94108

18.Radianz Americas Inc.            Jaime Newell                         Trade Debt                                                       $277,830.00
   P.O. Box 6368                    Telephone: 866-221-8623
   Carol Stream, IL 60197-          Email: usbilling@bt.com
   6368

19.Tom Cameron                      Shareholders Representative Debt Claim                                                                $268,334.00
   950 17th Street                  Services LLC
   Suite 1400                       Telephone: 303-648-4085
   Denver, CO 80202                 Email: deals@srsacquiom.com




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   Name of creditor and complete     Name, telephone number, and email    Nature of the   Indicate if claim   Amount of unsecured claim
   mailing address, including zip    address of creditor contact          claim           is contingent,      If the claim is fully unsecured, fill in only
   code                                                                  (for example,    unliquidated, or    unsecured claim amount. If claim is
                                                                         trade debts,     disputed            partially secured, fill in total claim
                                                                         bank loans,                          amount and deduction for value of
                                                                         professional                         collateral or setoff to calculate
                                                                         services, and                        unsecured claim.
                                                                         government
                                                                         contracts)                           Total       Deduction       Unsecured claim
                                                                                                              claim, if   for value of
                                                                                                              partially   collateral or
                                                                                                              secured     setoff
20.Clayton Reed                     Shareholders Representative Debt Claim                                                                $230,588.00
   950 17th Street                  Services LLC
   Suite 1400                       Telephone: 303-648-4085
   Denver, CO 80202                 Email: deals@srsacquiom.com



21.Focus Services LLC               Bryan Tesch                   Trade Debt
   4102 S 1900 W                    Telephone: 801-710-7200                                                                               $228,150.00
   Roy, UT 84067                    Email:
                                    bryan.tesch@focusservices.com


22.Insightsoftware, LLC  Jean Chambers                 Trade Debt                                                                         $221,603.00
   8529 Six Forks Road   Telephone: 919-872-7800
   #400                  Email:
   Raleigh, NC 27615     accounting@insightsoftware.co
                         m
23.BCM Advanced Research Emily Cheng                   Trade Debt                                                                         $212,860.00
   11 Chrysler           Telephone: 949-470-1888,
   Irvine, CA 92618-2009 #250
                         Email:
                         Emily_cheng@bcmcom.com

24.Bobby Beckmann                   Shareholders Representative Debt Claim                                                                $207,762.00
   950 17th Street                  Services LLC
   Suite 1400                       Telephone: 303-648-4085
   Denver, CO 80202                 Email: deals@srsacquiom.com



25.ValueLabs Inc.                   Ravi Volete                          Trade Debt                                                       $202,736.00
   3235 Satellite Blvd.             Telephone: 843-469-5184
   Building 400, Suite 300          Email:
   Duluth, GA 30096                 ravi.volete@valuelabs.com

26.Enoch Kever PLLC                 Amy Prueger                          Legal Fees                                                       $171,164.00
   7600 N Capital of Texas          Telephone: 512-615-1224
   Hwy                              Email:
   Building B, Suite 200            aprueger@enochkever.com
   Austin, TX 78731-1184




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   Name of creditor and complete     Name, telephone number, and email    Nature of the   Indicate if claim   Amount of unsecured claim
   mailing address, including zip    address of creditor contact          claim           is contingent,      If the claim is fully unsecured, fill in only
   code                                                                  (for example,    unliquidated, or    unsecured claim amount. If claim is
                                                                         trade debts,     disputed            partially secured, fill in total claim
                                                                         bank loans,                          amount and deduction for value of
                                                                         professional                         collateral or setoff to calculate
                                                                         services, and                        unsecured claim.
                                                                         government
                                                                         contracts)                           Total       Deduction       Unsecured claim
                                                                                                              claim, if   for value of
                                                                                                              partially   collateral or
                                                                                                              secured     setoff
27.Redpoint Omega                   Shareholders Representative Debt Claim                                                                $167,490.00
   Associates II, LLC               Services LLC
   950 17th Street                  Telephone: 303-648-4085
   Suite 1400                       Email: deals@srsacquiom.com
   Denver, CO 80202


28.Farnam Street Financial,         David Miller                         Litigation       Unliquidated                                         Unknown
   Inc.                             Telephone: 650-468-2428
   5850 Opus Parkway                Email:
   Suite 240                        DMiller@farnamstreet.net
   Minnetonka, MN 55343

29.Brandywine Realty Trust          Karl Seelbach                        Litigation       Unliquidated                                         Unknown
   7700 W. Highway 71               Telephone: 512-960-4891
   Suite 250                        Email:
   Austin, TX 78735                 karl@doyleseelbach.com



30.Amazon Webb Services, Lara Pryor                  Trade Debt Unliquidated                                                                   Unknown
   Inc.                   Telephone: 512-658-5572
   P.O. Box 84023.        Email: larapryo@amazon.com
   Seattle, WA 98124-8423




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                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Telstrat, LLC                                                                                Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Telstrat, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 May 16, 2023                                                        /s/ Benjamin L. Wallen
 Date                                                                Benjamin L. Wallen
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Telstrat, LLC
                                                                     Pachulski Stang Ziehl & Jones LLP
                                                                     440 Louisiana Street
                                                                     Suite 900
                                                                     Houston, TX 77002
                                                                     713-691-9385 Fax:713-691-9407
                                                                     bwallen@pszjlaw.com




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                                                               United States Bankruptcy Court
                                                                      Southern District of Texas
 In re      Telstrat, LLC                                                                                             Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Serenova, LLC                                                                                                                   100% Membership Interest
 216 West Village Blvd.
 Suite 102
 Laredo, TX 78041


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Co-Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date May 16, 2023                                                           Signature /s/ Marc Bilbao
                                                                                            Marc Bilbao

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      LAREDO DIVISION

    In re:                                                      Chapter 11

    TELSTRAT, LLC,                                              Case No. 23-_____ (___)

                          Debtor.                               (Joint Administration Requested)



                              CERTIFICATION OF CREDITOR MATRIX


        Pursuant to Rule 1007(a) of the Federal Rules of Bankruptcy Procedure, the above
captioned debtor and its affiliated debtors in possession (collectively, the “Debtors”)1 hereby
certify that the Creditor Matrix submitted herewith contains the names and addresses of the
Debtors’ creditors. To the best of the Debtors’ knowledge, the Creditor Matrix is complete,
correct, and consistent with the Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.




1
    The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Lifesize, Inc. (5803); SL Midco 1, LLC (6980), SL Midco 2, LLC (9192); Serenova, LLC (9208);
    Telstrat, LLC (5255); LO Platform Midco, Inc. (5738); Serenova WFM, Inc. (2823); and Light Blue Optics, Inc.
    (7669). The Debtors’ service address is 216 West Village Blvd., Suite 102, Laredo, TX 78041.



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 Fill in this information to identify the case:

 Debtor name         Telstrat, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration     Corporate Ownership Statement, List of Equity Holders, Creditor Matrix
                                                                           Certification

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 16, 2023                            X /s/ Marc Bilbao
                                                                       Signature of individual signing on behalf of debtor

                                                                       Marc Bilbao
                                                                       Printed name

                                                                       Co-Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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